

Matter of Windspirit v Windspirit (2018 NY Slip Op 03019)





Matter of Windspirit v Windspirit


2018 NY Slip Op 03019


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., DEJOSEPH, NEMOYER, AND WINSLOW, JJ.


515 CAF 16-01692

[*1]IN THE MATTER OF DANIEL F. WINDSPIRIT, PETITIONER-RESPONDENT,
vJENNIFER A. WINDSPIRIT, RESPONDENT-APPELLANT. (APPEAL NO. 3.) 






D.J. &amp; J.A. CIRANDO, ESQS., SYRACUSE (ELIZABETH deV. MOELLER OF COUNSEL), FOR RESPONDENT-APPELLANT.
COURTNEY S. RADICK, OSWEGO, ATTORNEY FOR THE CHILDREN. 


	Appeal from an order of the Family Court, Cayuga County (Mark H. Fandrich, A.J.), entered September 13, 2016 in a proceeding pursuant to Family Court Act article 6. The order, among other things, granted petitioner permission to relocate with the subject children to the State of Florida. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of Kolasz v Levitt , 63 AD2d 777, 779 [3d Dept 1978]).
Entered: April 27, 2018
Mark W. Bennett
Clerk of the Court








